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                   Attachment
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                      In	the	United	States	District	Court	

               Central	District	of	California	–	Western	Division	



                  JENNY	LISETTE	FLORES,	et	al.,	Plaintiffs,	

                                      v.	

                  WILLIAM	P.	BARR,	etc.,	et	al.,	Defendants.	




                       Case	No.	CV	85‐4544‐DMG	(AGRx)	

               Hon.	Dolly	M.	Gee,	United	States	District	Judge	




                 First	Report	and	Recommendation	

            Of	the	Special	Master/Independent	Monitor	



                           Andrea	Sheridan	Ordin	
                    Special	Master/Independent	Monitor	
                        Strumwasser	&	Woocher	LLP	
                     1094	Wilshire	Boulevard,	Suite	2000	
                        Los	Angeles,	California	90024	
                              (310) 576‐1233
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   1. INTRODUCTION	

   On	October	5,	2018,	this	Court	appointed	Andrea	Sheridan	Ordin	Special	

   Master/Independent	Monitor	(“Monitor”)	with	her	duties	to	commence	on	

   October	17,	2018.	In	2017,	the	Court	had	previously	appointed	Henry	A.	

   Moak,	Jr.	from	the	U.S.	Customs	and	Border	Protection	(“CBP”)	and	Deane	

   Dougherty	from	Immigration	and	Customs	Enforcement	(“ICE”)	to	serve	in	

   the	role	of	Juvenile	Coordinator	for	their	respective	agencies.	Based	in	part	

   upon	continuing	conflicting	information	from	the	Parties,	numerous	

   declarations	from	class	members	and	relatives	indicating	non‐compliance	

   with	the	Court’s	June	27,	2017	Order,	and	the	additional	finding	that	the	

   Office	of	Refugee	Resettlement	(“ORR”)	had	also	breached	the	Flores	

   Settlement	Agreement	in	multiple	respects,	the	Court	ruled:	


         “Because	of	the	complexity	of	the	Flores	Agreement,	the	Court’s	finding	

         of	non‐compliance,	and	ongoing		disputes	between	the	Parties	relating	

         to	the	implementation	of	the	Flores	Agreement,	the	Court	finds	that	the	

         appointment	of	a	Special	Master	and	Independent	Monitor	is	

         warranted.”	


   At	the	Status	Conference	on	October	15,	2018	designed	to	introduce	the	

   Parties	and	the	Monitor,	the	Court	expressed	appreciation	for	the	

   contributions	of	the	Juvenile	Coordinators	and	their	continued	participation,	

   	
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   and	then	left	the	bench	to	allow	Counsel	for	the	Parties,	the	Juvenile	

   Coordinators,	and	the	Monitor	to	discuss	among	themselves	their	respective	

   approaches	in	the	coming	year	in	order	to	comply	with	the	Judge’s	Orders.		

   The	2017	Order	alone	cites	more	than	15	categories	of	breaches	primarily	

   directed	to	facilities	within	the	jurisdiction	of	CBP	and	ICE.		The	2018	Order	

   focuses	on	breaches	in	three	general	categories	in	facilities	primarily	under	

   the	jurisdiction	of	ORR:	(1)	placing	class	members	in	residential	treatment	

   centers,	staff‐secure	facilities,	and	secure	facilities;	(2)	administering	

   psychotropic	drugs	to	class	members	without	a	court	order	or	the	informed	

   consent	of	an	authorized	person	under	state	law	focusing	specifically	on	the	

   Residential	Treatment	Center	known	as	Shiloh;	and	(3)	unnecessarily	

   prolonging	class	members’	detention	in	ORR	facilities.	


   This	first	Report	principally	describes	the	issues	being	addressed,	the	tours	of	

   facilities	intended	to	familiarize	the	Monitor	with	conditions	in	the	Rio	

   Grande	Valley	(“RGV")	sector,	and	the	Monitor’s	preliminary	observations	

   while	touring	the	facilities	and	questioning	staff	and	detained	minors.		In	the	

   second	Report	and	Recommendations,	the	Monitor	expects	to	analyze	the	

   government	internal	data	documenting	compliance	or	non‐compliance	with	

   the	Court’s	orders.	Subsequent	Reports	also	will	detail	results	of	interviews	

   with	class	members,	government	staff	and	experts.	In	the	subsequent	Reports	



   	
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   and	Recommendations,	the	Monitor	expects	to	be	able	to	draw	definitive	

   conclusions	and	to	offer	concrete	recommendations.	



   2. RELEVANT	DUTIES	OF	THE	MONITOR	

   The	entirety	of	the	Order	places	significant	responsibilities	on	the	Monitor,	

   including	but	not	limited	to:	

        Monitor	compliance	with	the	Court’s	June	27,	2017	and	July	30,	2018	

          Orders,	and	other	Court	orders	issued	during	the	Term	(“the	Court’s	

          Orders”);	

        Meet	with	the	Parties	and	their	counsel	and	receive	and/or	hear	

          evidence	and	legal	arguments	on	issues	pertaining	to	compliance	with	

          the	Court’s	Orders;	

        Make	findings	of	fact	and	prepare	formal	Reports	and	

          Recommendations	to	the	Court	regarding	achievement	of	the	goals	of	

          monitoring	and	substantial	compliance	with	the	Court’s	Orders;	

        Conduct	such	investigation,	interviews,	and	site	visits	as	are	necessary	

          to	achieve	the	goals	of	monitoring	or	aid	in	the	preparation	of	Reports	

          and	Recommendations;	

        Direct	the	Parties	to	produce	such	information	or	documents	as	the	

          Monitor	deems	relevant	to	achieve	the	goals	of	monitoring	or	to	

          prepare	Reports	and	Recommendations;	

   	
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        Resolve	such	disputes	as	may	arise	between	the	Parties	regarding	the	

          implementation	of	the	Court’s	Orders,	including	this	Order;	

        Preside	over	and	facilitate	mediations	and/or	settlement	negotiations	

          between	the	Parties	as	to	any	issues	pertaining	to	the	implementation	

          of	the	Court’s	Orders;	and	

        Advise	and	update	the	Court	on	the	status	of	Defendants’	compliance	

          with	the	Court’s	Orders.	



   In	addition	to	the	Court’s	broad	general	instructions	above,	Paragraph	D	(1)	

   (a)	contains	a	specific	requirement	to	evaluate	the	competing	evidentiary	

   claims	of	the	Parties	in	their	opposing	papers	preceding	appointment	of	the	

   Monitor.	That	evaluation	is	set	out	beginning	at	page	40.		


   The	Court	further	contemplated	that	during	the	course	of	the	Monitor’s	work,	

   additional,	unenumerated	matters	might	arise.	The	Court	specifically	

   instructed	that:		“During	the	course	of	her	monitoring	duties,	if	the	Monitor	

   discovers	potential	breaches	of	the	Flores	Agreement	that	are	beyond	the	

   scope	of	the	June	27,	2017,	July	27,	2018,	or	July	30,	2018	Orders,	she	shall	

   bring	them	to	the	Court’s	and	the	Parties’	attention.”	


   Two	such	unenumerated	items	arose	in	the	course	of	the	current	period:		




   	
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        The	Tornillo	temporary	emergency	facility	for	unaccompanied	alien	

          children	(“UAC”)	was	reported	in	national	and	local	media	to	have	

          violated	the	Flores	orders	in	several	aspects.	Announcements	of	closure	

          of	Tornillo,	and	the	eventual	closure,	led	to	the	Monitor	cancelling	a	

          planned	visit	to	that	facility,	and	no	remedial	measures	will	now	be	

          recommended	specifically	for	that	facility.	Evidence	of	past	practices	

          and	events	at	Tornillo	will,	of	course,	be	fully	taken	into	account	as	

          relevant.	


        In	December,	two	children	died	in	CBP	custody,	again	raising	concerns	

          about	possible	violations	of	the	Flores	Agreement.	As	contemplated	in	

          the	Court’s	orders,	the	Monitor	is	bringing	to	the	attention	of	the	Court	

          and	the	Parties	the	publicly‐available	facts	and	pending	actions	by	CBP	

          in	regard	to	the	two	deaths.	


   The	Order	contemplates	regular	Reports	and	Recommendations	to	the	Court,	

   with	the	first	Report	due	in	draft	to	the	Parties	one	month	before	the	Final	

   Report	is	filed	with	the	Court.		By	agreement	among	the	Parties,	Court,	and	

   Monitor,	the	first	Report	is	due	to	the	Court	on	March	6,	2019.	


   As	also	contemplated	by	the	Order,	the	Monitor	received	detailed	written	

   comments	during	the	week	of	February	18,	2019,	from	counsel	for	the	

   Plaintiffs,	counsel	for	Defendants,	CPB,	ICE	and	ORR,	as	well	as	the	Juvenile	

   	
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   Coordinators1	for	CPB	and	ICE.	The	comments	received	were	helpful	and	

   many	of	suggestions	have	been	incorporated	or	addressed	in	this	First	

   Report.		



   3. FLORES	SETTLEMENT	AGREEMENT	

   The	Court	and	the	Parties	are	well	aware	of	the	provisions	of	the	Agreement.	

   The	Settlement	Agreement	in	Flores	v.	Reno,	CV	85‐4544‐RJK	(Px),	was	filed	in	

   l997	after	the	litigation	had	been	pending	for	nine	years	and	had	been	heard	

   by	the	United	States	Supreme	Court.		See	Reno	v.	Flores	(1993)	507	U.S.	292,	

   113	S.	Ct.	1439,	123	L.Ed.2d	1.	The	Settlement	Agreement	is	23	pages,	and	

   attaches	Exhibits,	including	Instructions	to	Services	Officers	re:	Processing,	

   Treatment	and	Placement	of	Minors.	These	provisions	in	this	contract	

   between	the	INS	and	class	members	have	resulted	in	scores	of	legal	disputes	

   and	the	filing	of	tens	of	thousands	of	pages	in	multiple	federal	cases.	The	core	

   provisions,	which	over	the	years	have	been	incorporated	in	one	form	or	

   another	in	policy	memoranda	first	by	the	then	Immigration	and	

   Naturalization	Service,	and	now	by	the	Department	of	Homeland	Security	




   																																																			
   1	During	the	period	of	this	Report,	a	new	Juvenile	Coordinator	has	been	

   appointed	for	ORR	and	the	Monitor	will	be	conducting	joint	tours	and	
   interviews	with	the	Juvenile	Coordinator	in	March,	at	Homestead,	Florida.	

   	
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   (“DHS”)	and	Department	of	Health	and	Human	Services	(“HHS”)2,	Office	of	

   Refugee	Resettlement,	include:	


        The	INS	shall	place	each	detained	minor	in	the	least	restrictive	setting	

          appropriate	to	the	minor’s	age	and	special	needs,	provided	that	such	

          setting	is	consistent	with	its	interest	to	ensure	the	minor’s	timely	

          appearance	before	the	INS	and	the	immigration	courts	and	to	protect	

          the	minor’s	well‐being	and	that	of	others.		

          	

        Whenever	the	INS	takes	a	minor	into	custody,	it	shall	expeditiously	

          process	the	minor	and	shall	hold	minors	in	facilities	that	are	safe	and	

          sanitary	and	that	are	consistent	with	the	INS’s	concern	for	the	

          particular	vulnerability	of	minors.	Facilities	will	provide	access	to	

          toilets	and	sinks,	drinking	water	and	food	as	appropriate,	medical	

          assistance	if	the	minor	is	in	need	of	emergency	services,	adequate	

          temperature	control	and	ventilation,	adequate	supervision	to	protect	

          minors	from	others,	and	contact	with	family	members	who	were	

          arrested	with	the	minor.	In	the	event	of	an	emergency	or	influx	of	




   																																																			
   2	Responsibilities	of	the	former	Immigration	and	Naturalization	Service	were	

   transitioned	to	DHS	and	HHS	by	the	Homeland	Security	Act	of	2002,	Pub.L.	
   107–296,	116	Stat.	2135.	

   	
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               minors	into	the	United	States,	the	INS	shall	place	all	minors	pursuant	to	

               Paragraph	19	as	expeditiously	as	possible.	

               	

          The	INS	shall	place	each	detained	minor	in	the	least	restrictive	setting	

               appropriate	to	the	minor’s	age	and	special	needs.	Nothing	requires	INS	

               to	release	a	minor	to	any	person	or	agency	whom	the	INS	has	reason	to	

               believe	may	harm	or	neglect	the	minor	or	fail	to	present	him	or	her	

               before	the	INS	or	the	immigration	courts	when	requested	to	do	so.	See	

               8	USC	§1232(c)(3)(A).	

               	

          Where	the	INS	determines	that	the	detention	of	the	minor	is	not	

               required	either	to	secure	his	or	her	timely	appearance	before	the	INS	

               or	the	immigration	court,	or	to	ensure	the	minor’s	safety3	or	that	of	

               others,	the	INS	shall	release	a	minor	from	its	custody	without	

               unnecessary	delay,	in	the	following	order	of	preference,	to:	

                     o A	parent;	

                     o A	legal	guardian;	

                     o An	adult	relative	(brother,	sister,	aunt,	uncle,	or	grandparent);	

                            an	adult	individual	or	entity	designated	by	the	parent	or	legal	

   																																																			
   3	See	¶17,	which	outlines	the	possibility	of	performing	a	suitability	

   assessment,	including	the	wishes	and	concerns	of	the	minor.	

   	
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                guardian	as	capable	and	willing	to	care	for	the	minor's	well‐

                being	in	(i)	a	declaration	signed	under	penalty	of	perjury	before	

                an	immigration	or	consular	officer	or	(ii)	such	other	

                document(s)	that	establish(es)	to	the	satisfaction	of	the	INS,	in	

                its	discretion,	the	affiant's	paternity	or	guardianship;	

             o A	licensed	program	willing	to	accept	legal	custody;	or	

             o An	adult	individual	or	entity	seeking	custody,	in	the	discretion	of	

                the	INS,	when	it	appears	that	there	is	no	other	likely	alternative	

                to	long	term	detention	and	family	reunification	does	not	appear	

                to	be	a	reasonable	possibility.	



   4. ACTIVITY	OF	MONITOR	OCTOBER	15,	2018	–	JANUARY	31,	

       2019	

   After	the	October	17,	2018,	effective	date	of	appointment,	the	Monitor	

   focused	initially	on	investigating	and	mediating	disputes	relating	to	

   Defendants’	compliance	or	non‐compliance	with	the	June	27,	2017	Order	Re	

   Plaintiffs’	Motion	to	Enforce	and	Appoint	a	Special	Monitor	[Doc.	#363]	and	

   July	30,	2018	Order	re	Plaintiffs’	Motion	to	Enforce	Class	Action	Settlement	

   [Doc.	#470].		


   In	order	to	understand	more	fully	the	context	of	many	disputes	continuing	

   over	enforcement	of	the	provisions	of	the	two	referenced	Orders	and	the	

   	
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   Flores	Agreement,	the	Monitor	undertook	a	variety	of	visits	to	facilities	under	

   the	jurisdiction	of	CBP	in	the	Rio	Grande	Valley.		The	Monitor	also	visited	

   certain	ORR	and	ICE	facilities	in	Texas	outside	of	the	Rio	Grande	Valley.		


         October	30,	2018:			Tour	with	counsel	for	the	Parties	and	presentations	

         by	CBP	personnel	at	McAllen	Border	Patrol	Station	and	Processing	

         Center	(“CPC	Ursula”),	conversations	with	Consulate	of	Guatemala	

         representatives	on‐site,	and	observation	of	CBP	enforcement	activities	

         at	the	border.	The	Monitor,	with	lawyers	for	Plaintiffs	and	Defendants,	

         accompanied	CBP	officers	on	patrol,	and	accompanied	the	officers	as	

         they	apprehended	family	units	who	presented	themselves	at	the	United	

         States‐Mexico	Border.	


         November	26,	27,	28,	2018:	Tours	and	interviews	with	counsel	for	the	

         Parties	at	ICE	Karnes	County	Family	Residential	Center,	located	in	

         Karnes	County,	Texas,	and	South	Texas	Family	Residential	Center,	

         located	in	Dilley,	Texas.	


         December	4,	2018:	First	Tour	and	interviews	at	Shiloh	Residential	

         Treatment	Center	in	Manvel,	Texas,	with	counsel	for	the	Parties	and	

         Plaintiffs’	expert	psychiatrist,	Dr.	Amy	Cohen.	


         December	5,	2018:	Tour	of	Catholic	Charities	Houston	Shelter	and	

         Southwest	Key	Casa	Montezuma.	

   	
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         January	14,	15,	2019:	Second	Tour	of	Shiloh,	to	moderate	mediation	

         meeting	among	Drs.	Luis	Valdes,	Javier	Ruiz,	and	Amy	Cohen,	and	

         interviews	and	review	of	patient	files.	


         January	21,	22,	2019:	Unannounced	inspection	of	the	McAllen	Border	

         Patrol	Station	and	CPC	Ursula	with	Border	Patrol	Juvenile	Coordinator	

         Henry	A.	Moak,	Jr.	and	his	team.	


   In	addition,	the	Monitor	reviewed	CBP,	ICE,	and	ORR	data	documenting	their	

   management	of	the	various	facilities,	including:	


          McAllen	Border	Patrol	Station,	CPC	Ursula,	patrol	locations	for	

             apprehension	of	immigrant	aliens	

          Shiloh	Residential	Treatment	Center	

          Shelters	in	Houston,	including	Catholic	Charities	Houston	Shelter,	

             Southwest	Key	Casa	Montezuma	

          Residential	Family	Center,	Dilley	

          Residential	Family	Center,	Karnes	


   In	connection	with	her	review	of	CBP	data,	the	Monitor	met	with	a	

   representative	of	CBP	for	a	day‐long	review	of	the	practices	and	procedures	

   for	acquisition,	management,	and	reporting	of	the	data	maintained	in	the	

   e3DM	system	maintained	by	CBP	to	track	detainees.	Separately,	the	Monitor	



   	
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   reviewed	materials	regarding	the	data	portal	employed	by	ORR	and	observed	

   its	usage	by	ORR	personnel.	


   The	Monitor	also	reviewed	multiple	letters	from	Plaintiffs’	counsel	addressing	

   alleged	potential	breaches	and	new	issues	and	reviewed	Defendants’	

   counsel’s	responses.		Specifically,	the	Monitor	has	reviewed	Plaintiffs’	

   January	7,	2019,	letter	outlining	categories	of	documents	deemed	essential	to	

   determining	compliance.	The	Monitor	has	received	multiple	CBP,	ICE,	and	

   ORR	documents	required	by	the	Order	Appointing	the	Monitor	and	will	

   provide	analysis	of	those	documents	and	documents	to	be	received	in	future	

   reports.	


   The	Monitor	continued	her	research,	which	included:			


                More	than	200	declarations	filed	by	the	Parties	in	2017	and	

                  2018.	

                Literature	on	medical	treatment	of	minors,	including	literature	

                  provided	by	the	American	Academy	of	Pediatrics.	

                Texas	law	and	regulations	relating	to	children	in	confinement,	

                  and	requirements	for	administering	medical	treatment	and	

                  medication.	

                Relevant	federal	district	court	and	Ninth	Circuit	cases	related	to	

                  the	detention	of	UAC’s	and	family	units.	

   	
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             Office	of	Refugee	Resettlement	Policies:	Children	Entering	the	

                United	States	Unaccompanied.	

             Conditions	at	Tornillo.	


         Given	the	scope	of	the	Monitor’s	responsibilities	over	the	year	of	

         monitoring,	there	are	significant	powers	and	duties	that	the	Monitor	

         has	not	yet	addressed	or	exercised.		With	the	exception	of	the	Monitor’s	

         involvement	in	mediating	the	critical	disagreements	over	the	

         prescribing	of	psychotropic	drugs	at	Shiloh,	the	Monitor	has	not	yet	

         met	with	the	Parties	and	their	counsel	to	receive	and/or	hear	evidence	

         and	legal	arguments	on	issues	pertaining	to	compliance	with	the	

         Court’s	orders.			


         It	is	the	Monitor’s	hope	that	as	the	Monitor	develops	sufficient	data	and	

         other	firsthand	accounts	from	detainees	and	others	related	to	

         compliance,	the	Parties	will	be	able	to	effectively	utilize	the	Dispute	

         Resolution	process	contemplated	by	the	Order	Appointing	the	Monitor.	




   	
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   5. DISCUSSION	OF	CLAIMS	OF	BREACHES		

       A. CBP	Facilities	


         i.   Issues	


   Relying	on	the	Court’s	June	27,	2017	Order	Re	Plaintiffs’	Motion	to	Enforce	

   and	Appoint	a	Special	Monitor	[Doc.	#	363],	the	Monitor	focused	first	on	four	

   categories	of	allegations	with	respect	to	CBP:	access	to	food,	safe	and	sanitary	

   conditions,	ambient	temperature	(cold	temperatures),	and	sleeping	

   conditions.	The	Monitor	did	not	focus,	for	this	Report,	on	advisal	of	rights	

   when	minor	was	in	CBP	custody.	


        ii.   Monitor’s	Investigation	


                 (1) First	Site	Visit	to	McAllen	Border	Patrol	Station		


   On	October	31,	2018,	the	Monitor,	accompanied	by	counsel	for	Plaintiffs	and	

   Defendants,	and	the	CBP	Juvenile	Monitor,	toured	both	the	McAllen	Border	

   Patrol	Station	(“MCS”)	and	CPC	Ursula	during	the	morning.		The	MCS	was	

   observed	to	be	severely	overcrowded.	


   The	RGV	Sector	Detention	Dashboard	is	an	internal	report	created	for	

   leadership,	which	documents	the	numbers	of	adult	and	juvenile	detainees	in	

   each	of	the	facilities	on	a	daily	basis.



   	
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   Census	for	MCS		


   The	Monitor	reviewed	the	Dashboard	for	October	31,	2018,	the	day	of	the	

   tour.	The	Dashboard	reflects	that	there	were	302	juveniles	in	custody	yet	to	

   be	processed	in	cells	and	346	adults	in	custody,	for	a	total	of	648	juveniles	

   and	adults	in	MCS.		The	design	capacity	for	the	total	cells	in	MCS	is	320,	and	

   the	largest	individual	cell	capacity	is	46.	One	of	the	cells	was	observed	to	have	

   approximately	60	mothers	and	children.	


   The	Dashboard	documents	an	average	time	in	custody	for	that	day	as	16	

   hours,	but	does	not	differentiate	between	adult	and	juvenile	detention	times	

   in	the	facility.			The	Dashboard	does	report	how	many	detainees	(again	

   without	differentiation	of	juveniles)	were	kept	at	the	facility	more	than	72	

   hours.			None	were	reported.	


   The	Monitor	also	reviewed	the	Dashboard	for	MCS	for	October	30,	2018,	

   which	documented	a	total	of	496	detainees,	including	240	juveniles,	and	the	

   Dashboard	for	November	1,	2018,	which	documented	605	detainees,	

   including	220	juveniles.		The	average	reported	time	in	custody	for	October	30,	

   2018	was	13	hours	and	the	average	reported	time	in	custody	for	November	1,	




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   2018	was	20	hours.	The	Dashboard	reports	that	one	detainee	was	in	custody	

   for	more	than	20	hours	on	October	30,	2018,	and	none	on	November	1,	2018.4	


   Safe,	Sanitary	Conditions,	Access	to	Food	


   The	cells,	each	bounded	by	concrete	walls,	were	originally	constructed	for	

   adult	male	detainees	and	contain	no	furnishings	except	for	benches	to	sit	on.	

   Each	cell	has	one	or	more	toilets,	at	least	one	sink,	and	access	to	water.	The	

   Monitor	did	not	walk	into	the	cells,	but	observed	that	due	to	the	crowded	

   conditions,	the	cells	did	not	provide	adequate	privacy	for	personal	hygiene	or	

   use	of	toilets.	


   The	Monitor	observed	the	distribution	of	snacks	and	provision	of	water.	At	

   this	initial	tour,	no	measurement	was	made	of	ambient	temperature	in	the	

   cells,	but	the	Monitor	did	observe	that	the	common	areas	were	cold	and	that	

   the	minors	in	detention	cells	appeared	to	be	uncomfortably	cold	and	wrapped	

   themselves	in	single	mylar	blankets	while	sitting,	standing,	or	lying	on	the	

   concrete	floor.	During	this	limited	tour,	floors	and	walls	appeared	to	be	clean	

   and	swept.	The	Monitor	observed	that	many	minors	were	lying	on	the	floor	

   																																																			
   4	The	Monitor	has	noted	that	the	e3DM	Dashboard	printouts	that	have	thus	

   far	been	provided	(and	other	reports	provided	by	ORR	and	ICE)	usually	show	
   means	(average	days),	occasionally	medians	(50th	percentile),	and	
   occasionally	a	report	of	more	extreme	values.	The	data	provided	are	useful	
   but	not	fully	sufficient	for	the	present	purposes,	and	the	Monitor	will	be	
   addressing	additional	data	requirements	for	future	reports.	

   	
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   wrapped	in	the	mylar	blankets	and	appeared	to	be	sleeping	at	mid‐day.	There	

   are	no	floor	mats	provided	for	sleeping	at	this	facility.		


                 (2) First	site	visit	to	Rio	Grande	Valley	Centralized	Processing	

                    Center	


   The	CPC	Ursula	is	designed	to	accommodate	large	numbers	of	adults	and	

   minors,	both	accompanied	and	unaccompanied.	The	design	capacity	for	CPC	

   Ursula,	built	in	2014,	is	1,203	individuals.	The	large	open	space	is	divided	into	

   pods	surrounded	by	chain	link	fences	on	all	four	sides.	


   The	Monitor	observed	CPC	Ursula	in	the	morning	and	returned	in	the	evening	

   of	October	31,	2018.	In	the	morning,	CPC	Ursula	appeared	overcrowded,	but	

   returning	in	the	evening,	the	Monitor	observed	that	the	numbers	of	juveniles	

   had	decreased	dramatically.	The	Dashboard	for	October	31	documents	a	total	

   of	1,311	detainees,	including	369	juveniles.	The	average	time	in	custody	(not	

   differentiated	between	adults	and	juveniles)	was	71	hours,	and	544	detainees	

   were	in	custody	for	more	than	72	hours,	767	were	in	custody	for	less	than	72	

   hours.	


   The	CPC	Ursula	felt	warmer	than	MCS	in	the	morning	but	appeared	still	to	be	

   uncomfortable	for	the	detainees.	In	the	evening,	the	Monitor	interviewed	a	

   group	of	juvenile	girls	who	were	awaiting	transfer	to	ORR.	Some	of	the	girls	



   	
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   said	that	they	were	cold,	but	one	girl	said	she	was	less	uncomfortable	than	

   she	had	been	at	MCS.		


   The	Monitor	observed	that	evening	approximately	50	minors	standing	in	line	

   for	crackers	and	an	apple	after	the	evening	meal.	The	Monitor	spoke	to	a	

   group	of	juvenile	boys,	who	were	also	awaiting	transfer	to	ORR.	When	asked	

   about	their	previous	meal,	two	expressed	appreciation	and	three	others	

   responded	that	they	were	still	hungry.	They	were	reminded	by	one	of	the	

   touring	officials	that	they	could	have	snacks,	and	one	of	the	boys	said	he	was	

   aware	of	that.	Each	boy	was	asked	how	long	he	had	been	in	CPC	Ursula.	Most	

   said	one	to	two	days,	but	one	boy	said	he	had	been	there	for	at	least	a	week.		


                (3) Second	Site	Visit	to	McAllen	Border	Patrol	Station	and	CPC	

                    Ursula5	


   On	January	21,	2019,	the	Monitor,	accompanied	by	the	CBP	Juvenile	

   Coordinator,	made	an	unannounced	evening	visit	to	MCS.	Juvenile	

   Coordinator	Moak	was	accompanied	by	a	team	of	three	contractors	who	

   assisted	him	with	inspecting	the	amenities	and	compliance.	Arriving	at	the	

   facility	at	approximately	8:30	P.M.,	the	group	was	left	standing	outside	for	
   																																																			
   5	The	Monitor	notes	that	this	visit	took	place	during	the	December	22,	2018‐

   January	25,	2019	government	shutdown.	We	were	told	that	supervising	
   personnel	had	been	required	to	purchase	food	and	other	necessities	for	the	
   detainees	in	the	absence	of	personnel	and	contractors	who	had	been	
   furloughed.	

   	
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   more	than	15	minutes	while	the	personnel	inside	verified	the	group’s	

   identity.	Listed	below	are	some	of	the	impressions	and	data	collected	by	both	

   the	Monitor	and	the	Juvenile	Coordinator’s	team	on	both	the	evening	of	

   January	21,	2019,	at	MCS	and	mid‐morning	and	afternoon	of	January	22,	

   2019,	at	CBP	Ursula.		


   Temperatures	of	a	reasonably	comfortable	range		


   The	low	temperature	was	still	the	most	consistent	complaint	at	MCS.	CBP	

   policy	specifies	an	acceptable	temperature	range	of	66	to	80	degrees	

   Fahrenheit.	The	Juvenile	Coordinator	used	on‐site	measuring	equipment	and	

   got	readings	in	the	six	cells	containing	juveniles	of	64.7	to	69.8	degrees;	the	

   room	with	the	64.7	reading	was	the	only	one	below	the	66‐degree	minimum	

   of	the	CBP	standards.	To	the	Monitor,	wearing	a	turtle	neck	top,	jacket,	and	

   slacks,	the	temperature	was	below	a	comfortable	level,	although	within	the	

   66‐80	minimum	and	maximum	of	CBP	standards.			


   Safe	and	Sanitatary	Conditions	


   All	cells	at	McAllen	Border	Station	had	functioning	toilets.	Five	of	the	six	sinks	

   were	functioning	well,	and	one	was	functioning	poorly.	All	sinks	were	without	

   soap.	All	cells	were	observed	to	be	clean	and	pest‐free.	Cups	were	available	

   for	drinking.	



   	
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   Access	to	food	


   On	January	22,	2019,	the	Monitor	and	the	Juvenile	Coordinator	arrived	at	CPC	

   Ursula	and	observed	delivery	and	distribution	of	food,	which	is	prepared	off‐

   site	by	contractors.	A	meal	is	typically	a	burrito	with	a	fruit	or	a	bologna	

   sandwich	with	juice.		The	minors	are	asked	to	exit	cells,	and	line	up	outside	

   the	cell	to	receive	food	and	to	be	counted	for	attendance.	The	food	appeared	

   to	be	the	same	amount	and	variety	for	adults	and	boys	and	girls.	For	the	next	

   Report,	the	Monitor	will	report	more	fully	on	the	adequacy	and	access	to	food.	


   The	Monitor	also	examined	the	food	in	the	refrigerator	at	CPC	Ursula,	which	

   appeared	to	be	fully	stocked	and	organized	by	date	to	facilitate	distribution	

   before	expiration.	


   Also	on	January	22,	2019,	the	Monitor	observed	the	Juvenile	Coordinator	and	

   his	team	conducting	interviews	with	two	mothers	with	their	minor	children	

   at	CPC	Ursula	and	a	group	of	unaccompanied	juvenile	males.		The	interviews	

   covered	the	Flores	standards	in	detail,	and	detailed	notes	of	the	team	will	be	

   included	in	full	in	the	Juvenile	Coordinator’s	report.		The	ICE	Transport	

   Program	manager	was	on	site	and	assisted	with	translation	of	the	interviews.	

   The	Monitor	elicited	comments	on	various	issues.	One	mother	stated	that	her	

   children	had	been	offered	three	meals	a	day	and	snacks,	but	one	of	her	

   children	will	not	eat	the	food	and	spits	up	the	milk.	Two	unaccompanied	male	

   	
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   juveniles	who	were	interviewed	complained	about	the	burritos	for	breakfast	

   and	said	that	they	were	still	hungry.	The	Monitor	explained	that	snacks	were	

   available,	which	they	acknowledged.		


   Hygiene	


   In	summary,	except	for	one	adult,	the	interviewees	at	CPC	Ursula	all	related	

   that	they	had	showered	and	were	wearing	either	their	own	clean	clothes	or	

   clean	clothes	they	had	been	given.		


   Sleeping	Conditions	


   All	interviewees	had	received	a	mat	and	mylar	blanket	upon	arrival	at	CPC	

   Ursula.	The	lights	are	on	at	CPC	Ursula	all	24	hours,	but	the	mothers	

   interviewed	said	their	children	were	able	to	sleep	during	the	night	hours	at	

   CPC	Ursula.	In	a	separate	interview,	an	older	unaccompanied	juvenile	male	

   said	he	had	not	slept	much	since	his	arrival.	When	asked	about	the	officers	

   checking	on	their	well‐being,	one	of	the	juvenile	males	said	that	he	was	kicked	

   in	the	leg	by	someone	he	called	“an	officer”	to	wake	him	up.	The	Juvenile	

   Coordinator	reported	the	allegation	to	a	supervising	Border	Patrol	officer.	


   Access	to	Medical	Treatment	


   The	Monitor	met	on	January	21,	2019,	with	medical	personnel	who	were	on	

   duty	at	MCS	and	reviewed	the	current	policy	for	medical	assessment	and	

   	
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   treatment	of	the	minors.	The	medical	personnel	included	an	EMT	and	a	

   nursing	staff	member.	Such	personnel	are	on	duty	24	hours,	seven	days	a	

   week.	All	minors	have	an	initial	screening	when	they	first	arrive	at	the	

   station.	The	nurse	practitioner	explained	the	new	policy,	issued	by	

   Commissioner	Kevin	McAleenan	in	December	2018,	which	requires	a	second	

   medical	assessment	when	the	minors	arrive	at	CPC	Ursula.	The	nurse	

   practitioner	also	explained	the	use	and	availability	of	nearby	hospitals	and	

   urgent	care	clinics.	The	Monitor	also	reviewed	with	the	staff	the	prescription	

   policy.	On	January	22,	2019,	the	Juvenile	Coordinator	and	the	Monitor	

   observed	the	office	of	the	CPC	Ursula	medical	personnel	who	were	seeing	

   detainees,	but	did	not	then	conduct	interviews.		


   Census	for	MCS	


   The	Dashboard	for	MCS	indicates	294	detainees	in	custody,	including	74	

   juveniles,	on	January	21,	2019.	On	January	22,	the	Dashboard	indicates	225	

   detainees	in	custody,	including	32	juveniles.	The	average	time	in	custody	was	

   24	hours	on	January	21	and	32	hours	on	January	22.		


   Census	for	CPC	Ursula	


   The	Dashboard	for	CPC	Ursula	for	January	22,	2019,	indicates	a	total	of	1,569	

   detainees,	including	655	juveniles.	The	average	time	in	custody	for	all	

   detainees	was	65	hours.	The	Dashboard	also	indicates	that	847	detainees	

   	
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   were	in	custody	less	than	72	hours,	and	722	detainees	were	in	custody	more	

   than	72	hours.	


       iii.       Deaths	of	two	minors	in	December	2018	


   Upon	receipt	of	the	press	reports	of	the	December	2018	deaths	of	two	minors	

   in	CBP	custody,	the	Monitor	collected	the	publicly	available	information	from	

   CBP,	which	is	related	below.	The	Monitor	is	advised	that	the	Department	of	

   Homeland	Security,	Office	of	the	Inspector	General	(“DHS	016”)	opened	an	

   investigation	on	December	24,	2018.	As	noted	on	page	22,	the	Monitor	is	also	

   advised	that	the	Commissioner	of	CBP	has	revised	medical	screening	

   procedures	in	order	to	add	a	second	medical	assessment	of	each	arriving	

   minor.	


   The	Monitor	will	await	further	instructions	from	the	Court,	if	any,	before	any	

   additional	inquiries	are	made.	


   	


                    (1) Jakelin	Caal	Maquin	


   Information	made	available	by	CBP:	


        On	December	6,	2018	at	9:15	P.M.,	a	seven‐year‐old	female	child	from	

              Guatemala	was	apprehended	with	her	father	approximately	a	half	mile	

              west	of	the	Antelope	Wells	Port	of	Entry	at	the	Bounds	Forward	
   	
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          Operating	Base	(“Bounds	FOB”).	There	were	four	Border	Patrol	Agents	

          on	scene	at	the	time.	

          	

        Upon	apprehension,	the	Border	Patrol	Agent	conducted	an	initial	

          screening,	which	consists	of	an	interview	and	observation	of	the	

          detainee	to	identify	any	health	or	safety	problems	to	ensure	that	they	

          receive	necessary	medical	care.	The	initial	screening	revealed	no	

          evidence	of	health	issues.		

          	

        She	and	her	father	were	held	inside	the	Sally	Port	of	the	Antelope	Wells	

          Port	of	Entry	and	had	access	to	food,	water	and	restrooms,	while	

          waiting	for	transport.	

          	

        At	10:00	P.M.,	an	MCI	Transport	Bus	left	the	Lordsburg	Border	Patrol	

          Station	route	to	the	Bounds	FOB.	Lordsburg	Border	Patrol	Station	is	

          approximately	94	miles	away	from	the	FOB	Bounds,	and	the	trip	takes	

          between	two	to	three	hours.		

          	

        Around	12:20	AM	on	December	7,	the	MCI	Transport	Bus	transported	

          the	first	group	of	UAC	to	the	Lordsburg	Border	Patrol	Station.	

          	


   	
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        The	MCI	Transport	Bus	returned	at	4:00	AM	to	the	Bounds	FOB.	At	

          4:30	AM,	the	second	group,	including	the	child	and	her	father	was	

          loaded	onto	the	MCI	Transport	Bus.	Just	prior	to	departure,	at	5:00	AM,	

          the	father	advised	the	agent	that	the	child	was	sick	and	vomiting	while	

          on	the	bus.		

          	

        At	this	time,	the	Agents	notified	the	Lordsburg	Border	Patrol	Station	to	

          prepare	to	receive	the	child	and	provide	emergency	medical	care.		

          	

        Shortly	before	6:30	AM,	the	bus	arrived	at	the	Sally	Port	of	the	

          Lordsburg	Border	Patrol	Station	and	the	father	advised	that	the	child	

          was	not	breathing.	A	Border	Patrol	Emergency	Medical	Technician	

          began	to	provide	medical	care	and	revived	the	child	twice.	It	was	

          determined	at	this	time	that	she	had	a	temperature	of	105.7	degrees.	

          	

        Hidalgo	County	EMS	arrived	and	began	providing	care	at	6:40	AM.	A	

          decision	was	made	to	transport	to	the	nearest	trauma	center,	

          Providence	Children’s	Hospital	in	El	Paso,	Texas.		

          	




   	
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        Air	Ambulance	departed	LOB	with	the	child	at	7:45	AM,	she	arrived	at	

          the	Providence	Children’s	Hospital	in	El	Paso	at	8:50	AM	and	received	

          additional	emergency	medical	care.		

          	

        Her	father	was	transported	by	CBP	via	a	government	vehicle	to	the	

          hospital.	

          	

        At	11:00	AM	on	December	7,	LOB	was	notified	the	juvenile	went	into	

          cardiac	arrest	again	and	was	subsequently	revived.	She	was	breathing	

          by	machine	and	diagnosed	with	liver	failure.		

          	

        She	died	at	12:35	AM	on	December	8.	

          	


                 (2) Felipe	Alonzo‐Gomez	


   Information	made	available	by	CBP	(times	indicated	to	be	local,	Mountain	

   Standard	Time):	


        On	December	18,	at	approximately	1300	hours,	eight	year‐old	Felipe	

          Alonzo‐Gomez	was	apprehended	with	his	father	at	3.29	miles	west	of	

          the	Paso	Del	Norte	Port	of	Entry	in	El	Paso,	Texas.	

          	

   	
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        On	December	18,	at	approximately	1639	hours,	the	father	and	child	

          were	transferred	to	the	PDT	processing	center.		

   	

        While	detained	at	PDT,	the	child	and	his	father	were	provided	hot	food,	

          snacks,	juice,	and	water,	and	the	agents	logged	six	welfare	checks.		

          	

        On	December	20,	at	1200	hours,	the	child	and	his	father	were	

          transferred	to	El	Paso	Border	Patrol	Station	(“EPS”).	

          	

        From	December	20	to	December	22,	the	child	and	his	father	were	

          provided	with	showers,	food,	juice,	and	water,	and	the	agents	logged	17	

          welfare	checks.	

   	

        On	December	22,	at	approximately	2317	hours,	U.S.	Border	Patrol	

          transferred	the	child	and	father	to	the	Alamogordo	Border	Patrol	

          Station	(“ALA”)	to	finalize	processing.	The	child	and	his	father	were	

          transferred	because	of	capacity	levels	at	the	El	Paso	Station.	

          	

        On	December	23,	at	approximately	0108	hours,	the	child	and	his	father	

          arrived	at	the	Alamogordo	Station.	

          	


   	
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              o Upon	arrival,	the	child	and	his	father	were	provided	with	

                 personal	hygiene	products	and	meals,	and	they	received	several	

                 welfare	checks.	

        On	December	24,	at	about	0539	hours,	a	placement	request	for	the	

          child	and	his	father	was	e‐mailed	to	ICE’s	Enforcement	and	Removal	

          Operations’s	family	placement	inbox.	

          	

        On	December	24,	at	approximately	0900	hours,	a	processing	agent	

          noticed	that	the	child	was	coughing	and	appeared	to	have	glossy	eyes.		

          	

        On	December	24,	at	approximately	0930	hours,	based	on	the	agents’	

          observations,	the	child	and	his	father	were	transferred	to	GCRMC	with	

          possible	influenza	symptoms.	

   	

        On	December	24,	at	about	1130	hours,	hospital	staff	conducted	several	

          tests	on	the	child	for	strep	throat.		

   	

        On	December	24,	at	about	1320	hours,	the	child	was	evaluated	for	

          release	and	found	to	have	a	103	degree	fever	and	was	held	for	

          continued	observation.	

   	


   	
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        On	December	24,	at	about	1450	hours,	the	child	was	released	from	the	

          ER	with	a	prescription	for	amoxicillin	and	ibuprofen.	

          	

        The	child	and	his	father	were	transported	to	temporary	holding	at	the	

          Highway	70	checkpoint.	While	at	the	checkpoint,	the	child	and	his	

          father	were	offered	and	accepted	a	hot	meal.		

                 	

        At	about	1700,	agents	provided	the	child	with	a	dose	of	the	prescribed	

          medication	as	ordered	by	the	medical	staff	and	agents	conducted	

          several	welfare	checks	that	evening.	

   	

        On	December	24	at	1900	hours,	the	child	appeared	to	be	nauseous	and	

          vomited.	Agents	were	aware	of	this	and	helped	clean	up	the	vomit.	

          	

              o His	father	declined	further	medical	assistance	as	the	child	had	

                 been	feeling	better.	

                 	

        On	December	24,	at	about	2200	hours,	the	child	appeared	lethargic	and	

          nauseous	again.	

          	




   	
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              o As	no	EMT	was	on‐duty,	agents	made	the	decision	to	return	the	

                 child	and	his	father	to	the	hospital.	During	transportation	to	the	

                 hospital	the	boy	began	to	vomit	and	he	lost	consciousness.	

                 	

        At	2307	hours,	radio	traffic	indicated	that	the	agent	had	arrived	at	the	

          hospital	where	he	was	met	by	hospital	staff.	

          	

              o The	staff	were	unable	to	revive	the	child	and	pronounced	him	

                 deceased	at	2348	hours	on	December	24,	2018.	

                 	

        The	Guatemala	Consulate	was	contacted	at	0740	hours	on	December	

          25,	2018.	The	father	is	currently	detained	at	the	Alamogordo	Station	

          pending	transfer	to	ICE	Enforcement	and	Removal	Operations	(“ERO”).	

          He	has	spoken	to	his	spouse	in	Guatemala	and	the	Guatemala	

          Consulate.		

          	

       B. ICE	Facilities	


         i.   Issues	


   Pursuant	to	the	Court’s	June	27,	2017	Order	Re	Plaintiffs’	Motion	to	Enforce	

   and	Appoint	a	Special	Monitor	[Doc.	#	363],	the	Monitor	is	focusing	on	two	


   	
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   categories	of	allegations	with	respect	to	ICE:	secure,	unlicensed	facilities	and	

   releasing	minors	without	unnecessary	delay	or	within	20	days	of	detention.	


   With	respect	to	unnecessary	delay/20‐days	requirement,	the	ICE	Juvenile	

   Coordinator	has	provided	the	Monitor	with	helpful	material	from	the	ERO	

   Custody	Management	Division	Enforcement	Integrated	Database	(“EID”).	

   Although	the	Monitor	has	not	yet	personally	reviewed	the	files	of	minors	who	

   have	experienced	delay	in	excess	of	20	days,	the	Coordinator	advises	that	

   common	reasons	that	unaccompanied	children	remain	in	custody	over	20	

   days	are	the	following:	


        Parents	not	claiming	fear	of	return	to	their	country	of	citizenship	when	

              apprehended	but	subsequently	asserting	the	claim;	

        Sponsor	delay	in	providing	a	transportation	plan	to	transfer	the	minor	

              to	the	sponsor;	or	

        Delays	in	ICE	receiving	from	the	U.S.	Citizenship	and	Immigration	

              Services	(“CIS”)	the	determination	on	the	claimed	fear	of	return.	


        ii.       Monitor’s	Investigation	


                     (1) South	Texas	Family	Residential	Center	(Dilley)	


   The	large	Dilley	facility	was	constructed	in	2015	for	families	detained	by	ICE	

   and	is	maintained	by	CoreCivic	by	contract.	It	consists	of	almost	55	acres	of	


   	
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   grounds	and	was	designed	to	accommodate	up	to	2,400	people.	The	facility	is	

   still	not	officially	licensed	by	the	State	of	Texas,	but	it	is	still	subject	to	

   unannounced	inspections	and	standards	of	licensed	facilities.	The	Monitor	is	

   told	that	State	inspections	of	Dilley	occurred	3	times	in	2016,	3	times	in	2017,	

   and	2	times	in	2018.	The	Monitor	will	be	examining	copies	of	those	

   inspections	later	in	March.	The	case	cited	by	the	Court	in	the	2017	order	[Doc.	

   #	363],	Grassroots	Leadership,	Inc.	v.	Texas	Department	of	Family	and	

   Protective	Services,	No.	D‐1‐GN‐15‐004336,	slip	op.,	Travis	Cty.	Dist.	Court	

   (Dec.	16,	2016),	has	been	reversed.	See	Texas	Department	of	Family	and	

   Protective	Services	v.	Grassroots	Leadership,	Inc.,	(Tex.	App.,	Nov.	28,	2018,	No.	

   03‐18‐00261‐CV)	2018	WL	6187433.	The	Texas	Court	of	Appeals	set	aside	on	

   standing	grounds	the	order	prohibiting	Texas	from	issuing	childcare	licenses	

   to	the	Dilley	and	Karnes	residential	centers.		


   The	Monitor	toured	the	Dilley	facility	with	the	ICE	Juvenile	Coordinator,	staff,	

   and	lawyers	for	Plaintiffs	and	Defendants	on	November	26,	2018.		


   The	Monitor	observed	that	since	the	families	are	not	free	to	leave	the	facility	

   without	staff	accompaniment,	it	is	defined	as	a	secure	facility.	Individual	

   family	members	can	move	freely	throughout	the	large,	open	facility	to	

   playrooms,	snack	areas,	libraries,	exercise	rooms,	and	outdoor	athletic	fields.	

   Residents	in	each	of	the	six‐	to	eight‐person	bedrooms	have	access	to	cable	

   television.	
   	
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   Dilley	was	constructed	specifically	within	the	framework	of	ICE's	detention	

   standards,	focused	on	the	needs	of	family	groups.	There	is	a	school	on‐site,	

   operated	by	a	contractor	with	18	years	of	experience	nationwide,	staffed	by	

   bilingual,	state‐certified	teachers.	Parents	have	access	to	English	as	a	Second	

   Language	and	other	adult	education	programs.	Volunteers	for	the	Dilley	Pro	

   Bono	Initiative	have	designated	offices	to	consult	with	clients	seven	days	a	

   week.	Dilley	has	medical	facilities,	including	a	dental	office,	on	premises.	A	

   subcontractor,	ICE	Health	Service	Corp.,	provides	24‐hour	medical	services.	


   Residents	can	receive	visitors	seven	days	a	week,	from	8	A.M.	to	8	P.M.	

   Recreation	resources	include	a	soccer	field,	volleyball	and	basketball	courts,	

   board	games,	and	toys.	There	is	a	large	library,	a	small	computer	lab	with	

   internet	access	and	email	services,	and	residents	have	access	to	a	beauty	

   shop.	Residents	may	keep	and	wear	their	own	clothes,	and	non‐institutional,	

   brightly‐colored	clothing	is	available.	The	facility’s	cafeteria	serves	three	

   meals	a	day,	seven	days	a	week.	


   The	average	length	of	stay	for	Dilley	during	January	2018	was	19.8	days.	As	of	

   December	18,	2018,	the	average	length	of	stay	was	11.6	days.	The	2018	

   average	was	14.6	days.6	


   																																																			
   6	The	ICE	Juvenile	Coordinator	has	provided	the	Monitor	information	

   regarding	ICE’s	computation	of	these	averages.	She	advises	that	minors	who	
   	
   	
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                            (2)         Karnes	County	Residential	Center	


   The	Karnes	County	Residential	Center,	located	in	Karnes	City,	Texas,	has	a	

   capacity	of	830	residents,	including	580	children	younger	than	18.	Karnes	

   originally	housed	female	head‐of‐household	family	units	since	the	beginning	

   of	August	2014,	but	since	July	of	2018	Karnes	has	transitioned	to	male‐head‐

   of‐household	units	with	male	children	only.	


   As	noted	above,	the	recent	appellate	decision	in	the	Grassroots	Leadership	

   case	(see	p.	32)	has	removed	the	bar	to	state	licensure	for	Karnes,	but	the	

   facility	does	not	presently	hold	a	state	license.	As	with	Dilley,	it	is	subject	to	

   unannounced	inspection	and	standards	of	licensed	facilities.	The	Monitor	is	

   told	inspections	of	Karnes	occurred	once	in	2015,	2	times	in	2016,	2	times	in	

   2017,	2	times	in	2018,	and	once	in	2019.	The	Monitor	will	receive	copies	of	

   those	inspections.	


   The	Monitor	toured	the	Karnes	facility	with	the	ICE	Juvenile	Coordinator,	her	

   staff,	and	lawyers	for	Plaintiffs	and	Defendants	on	November	27,	2018.	


   Again,	as	with	Dilley,	since	the	families	are	not	free	to	leave	the	facility	

   without	staff	accompaniment,	it	is	defined	as	a	secure	facility.	The	families	
   																																																																																																																																																							
   have	not	yet	been	reunited	with	their	parents	in	accordance	with	the	Ms.	L	v.	
   ICE	order	have	been	excluded	from	the	Flores	timeframe.	The	Monitor	expects	
   to	obtain	additional	information	regarding	these	averages	and	numbers	for	
   minors	whose	stays	have	exceeded	certain	thresholds.	

   	
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   have	free	movement	within	the	facility	and	grounds.	The	Karnes	Pro	Bono	

   Project	(“RAICES”)	is	provided	a	designated	area	to	consult	with	clients,		and	

   visitations	are	permitted	seven	days	a	week.		


   According	to	the	Resident’s	Handbook	provided	to	the	Monitor,	the	personal	

   areas	are	searched	once	a	day	to	detect	contraband,	maintain	sanitary	

   standards,	and	eliminate	fire	and	safety	hazards.	Rules	of	Behavior	and	

   Discipline	are	given	to	all	adults.	Staff	conducts	an	adult	and	child	census	

   three	times	a	day.	


   Non‐institutional	clothing	is	provided.	There	is	a	law	library	and	a	leisure	

   library.	Recreation	facilities	include	an	outdoor	basketball	court,	an	indoor	

   gymnasium,	and	a	playscape	for	children.	The	Monitor	toured	the	medical	and	

   dental	facilities	and	cafeteria,	and	observed	an	interactive	religious	service	

   with	approximately	40‐50	male	adults	in	attendance.	Residents	may	maintain	

   personal	attire	for	daily	wear.	Individual	washing	machines	are	available	

   throughout	the	living	areas.	The	eight	person	bedrooms	are	fitted	with	cable	

   television.				


   The	average	length	of	stay	for	minors	at	Karnes	during	January	2018	was	15.4	

   days.	During	December	2018,	the	average	length	of	stay	was	10.1	days.	The	

   2018	average	was	11.8	days.	Length	of	stay	was	determined	by	ERO	Custody	

   Management	by	calculating	the	time	between	Apprehension	Date	and	either	

   	
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   Book‐out	date	or	the	end	of	month	for	those	who	remained	in	custody.7	On	

   occasion,	where	there	are	data	quality	issues	on	the	apprehension	date,	the	

   initial	Book‐in	date	was	substituted.	


         C. ORR	Facilities	


             i.      Issues	


   Pursuant	to	the	Court’s	Order	Re	Plaintiffs’	Motion	To	Enforce	Class	Action	

   Settlement	[Doc.	#	470],	the	focus	of	the	Monitor’s	investigation	concerns	

   three	categories	of	issues.		The	first	category	is	the	assignment	of	UACs	to	

   ORR	staff‐secure	facilities	or	secure	facilities,	with	particular	attention	to	

   whether	the	UAC	is	given	timely	written	notice	of	the	reasons	for	placing	a	

   UAC	in	a	secure	facility,	staff‐secure	facility,	or	RTC.	The	second	category	

   concerns	the	administration	of	psychotropic	medication	to	class	members	

   without	the	informed	written	consent	by	a	person	authorized	by	state	law	or	

   a	court	order.	This	latter	issue	is	particularly	pressing	in	the	context	of	the	

   Shiloh	Residential	Treatment	Center,	also	described	by	Shiloh	personnel	as	a	

   subacute	hospital	with	a	residential	program8.		The	Monitor	will	address	the	

   																																																			
   7	The	Monitor	has	questions	about	the	aggregation	of	booked‐out	minors	and	

   those	still	in	custody	and	expects	to	receive	additional	information	about	this	
   and	other	data.	
   8	The	Order	specifically	applies	to	Shiloh,	but	the	issue	is	so	entwined	with	the	

   delivery	of	psychotropic	drugs	in	all	shelters,	that	the	Monitor	will	address	
   the	medical	delivery	of	drugs	in	ORR	shelters	in	a	future	report.	

   	
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   issues	particular	to	Shiloh	below	(see	p.	40	et	seq.).	The	third	category	

   concerns	the	time	UACs	are	in	the	custody	of	ORR	and	whether	all	expeditious	

   steps	have	been	taken	to	place	the	UACs	in	a	non‐institutional	setting.		


       ii.       Monitor’s	Investigation	


   On	December	3,	2018,	the	Monitor	toured	two	of	the	more	than	100	shelter	

   facilities	for	which	ORR	contracts,	the	Catholic	Charities	Houston	Shelter	and	

   the	Southwest	Key	Casa	Montezuma	Shelter.	


   The	Monitor	does	not	yet	have	the	data	necessary	to	determine	the	duration	

   of	minors’	stays	at	these	two	facilities,	but	the	ORR	data	for	fiscal	year	2018	

   reflects	that	of	the	55,136	total	placements	nationally,	35,249	(86%)	were	

   released,	896	(2%)	were	removed,	and	the	overall	length	of	care	averaged	60	

   days.	Nationally,	the	data	for	the	first	three	months	of	the	2019	fiscal	year	

   (the	U.S.	federal	government’s	fiscal	year	begins	October	1)	reflect	total	

   placements	of	18,137,	of	which	12,953	were	released	(90%),	256	(2%)	

   removals,	and	a	significant	increase	in	overall	average	length	of	care,	to	89	

   days.	The	RGV‐specific	numbers	will	be	included	when	they	are	received.	




   	
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                            (1) Catholic	Charities	Houston	


   The	Monitor	visited	the	Catholic	Charities	Houston	Shelter	on	December	4,	

   2018,	with	the	staff	of	ORR	and	counsel	for	Defendants.9	The	shelter	is	in	an	

   attractive	home	in	a	residential	neighborhood,	designed	to	care	for	young	

   women	and	their	infants.	At	the	time	of	the	visit,	there	was	one	infant	in	the	

   childcare	room	being	cared	for	by	a	staff	member.	All	of	the	women	were	at	

   school	during	the	visit	except	one	who	was	in	the	hospital	about	to	deliver.	


   It	appeared	that	the	young	women	were	free	to	come	and	go	unimpeded.	We	

   could	not	interview	any	of	the	young	women	who	were	in	class	to	determine	

   whether	they	were	having	any	difficulty	coming	and	going	as	they	wished.	

   The	facility	holds	a	license	from	the	state.		


                            (2) Southwest	Key	Casa	Montezuma	


   The	Monitor	visited	Southwest	Key	Casa	Montezuma	on	the	same	day,	

   December	4,	2018,	accompanied	by	staff	of	ORR	and	counsel	for	Defendants.		


   Southwest	Key	Casa	Montezuma	is	a	modified	hospital	in	a	residential	area	

   and	operates	as	a	General	Residence	Operation.	It	is	a	large	facility	with	a	

   capacity	for	800	unaccompanied	children.	The	Monitor	observed	bedrooms,	
   																																																			
   9	Plaintiffs’	counsel	were	given	the	opportunity	to	participate	in	the	visits	to	

   the	Catholic	Charities	and	Southwest	Key	Casa	Montezuma	facilities	but	
   declined.	They	did	join	the	visit	to	Shiloh,	as	noted	below.	

   	
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   bunk	beds,	dresser	drawers,	and	often	an	attached	bathroom.	The	male	UACs	

   are	on	a	separate	floor	from	the	females.	No	personal	items	were	observed	in	

   the	bedrooms,	either	on	the	beds	or	on	the	dresser.	The	facility	is	surrounded	

   by	security	for	persons	coming	and	going.	The	facility	is	locked	and	secure,	

   with	personnel	regulating	entry	and	exit	of	visitors	and	staff	and	minors	

   accompanied	by	staff.	The	outdoor	area	for	exercise	is	small	and	surrounded	

   by	a	chain‐link	fence.	The	Monitor	observed	school	classes,	which	appeared	to	

   be	of	reasonable	size	and	engaged	in	appropriate	teaching	activities.	The	

   monitor	examined	the	cafeteria	at	mealtime,	seeing	male	and	female	minors	

   eating	at	the	same	time,	with	talk	and	laughter	among	the	minors.	The	food	

   looked	appetizing.	The	walls	of	the	cafeteria	and	general	halls	were	decorated	

   with	bright	colors,	signs	announcing	events	and	reporting	inappropriate	

   conduct,	and	student	artwork.	


   The	Monitor	observed	the	medical	facilities	and	met	with	administrative	

   personnel.	In	walking	through	the	facility,	the	Monitor	observed	mental	

   health	professionals	in	their	offices	and	teachers	conducting	classes.	The	

   Monitor	was	told	that	all	of	the	relevant	staff	held	state	licenses	and	that	the	

   facility	itself	was	licensed.	


   Family	members	are	able	to	visit	the	minors,	and	the	Monitor	observed	a	

   bank	of	telephones	available	for	private	conversations	with	family,	friends,	

   and	potential	sponsors.		
   	
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   In	response	to	questions,	administrative	staff	recognized	that	there	had	been	

   increased	delay	in	obtaining	sponsors,	which	the	Monitor	understands	to	be	

   attributable,	at	least	in	part,	to	the	current	government	policy	regarding	the	

   need	for	fingerprints.	But	staff	said	that,	in	addition,	they	were	sometimes	

   being	told	that	the	fingerprints	for	household	members	of	a	prospective	

   sponsor	had	expired,	delaying	placement	until	fingerprinting	could	be	

   repeated.	There	also	appeared	to	be	increased	investigation	of	sponsors	and	

   of	the	extended	family	of	the	potential	sponsor.		


   In	January	of	2019,	subsequent	to	the	December	4th	tour,	the	Monitor	was	

   informed	that	on	December	18,	2018,	ORR	policy	had	been	changed	by	an	

   Operational	Directive	in	an	attempt	to	increase	the	speed	of	investigation	of	

   sponsors	and	extended	families,	and	decrease	the	length	of	care	described	

   during	our	tour.	Among	other	things,	ORR	revised	ORR	fingerprint	policy	to	

   extend	the	time	period	in	which	fingerprints	remain	valid.	The	Monitor	will	

   be	reviewing	the	impact	of	this	change	in	policy	and	provide	results	in	the	

   next	Report.		


                (3) Shiloh	Residential	Treatment	Center	


   The	Monitor	attended	the	first	tour	and	interviews	at	Shiloh	with	counsel	for	

   the	Parties	and	ORR	personnel.	The	Unaccompanied	Minor’s	Program	at	

   Shiloh	Treatment	Center	is	a	residential	treatment	program	in	a	rural	and	

   	
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   isolated	environment	that	serves	children	and	adolescents	ages	3	–	18	years	

   old	with	behavioral	and	emotional	problems	resulting	from	a	mental	health	

   diagnosis.	Shiloh	operates	24	hours	a	day,	7	days	a	week.	Shiloh	is	currently	

   licensed	for	44	beds	by	the	Texas	Department	of	Family	and	Protective	

   Services,	accredited	by	the	Joint	Commission,	and	approved	as	a	non‐public	

   school	by	the	Texas	Education	Agency.	


   The	Court	specifically	directed	that	Shiloh	provide	facilities	where	minors	

   may	have	private	telephone	conversations.	The	Monitor	and	attendees	

   examined	the	office	with	the	cubicle	equipped	with	seating	and	the	telephone	

   used	by	the	minors.	Since	the	Court’s	Order,	the	formerly	solid	door	to	the	

   telephone	cubicle	has	been	altered	to	include	a	window,	so	that	minors	can	

   now	close	the	door	and	speak	without	being	overheard	by	a	staff	member	in	

   the	office.	


   The	Monitor	observed	the	residences	of	the	minors.	The	interiors	contain	

   bedrooms	with	bunk	beds,	bedroom	furniture,	private	bathrooms,	and	a	

   common	living	room,	dining	room	and	kitchen.	The	exteriors	of	the	

   residences	are	equipped	with	visible	security	on	doors	and	windows.	The	

   Monitor	also	observed	a	class	in	session	and	staff	and	boys	in	the	athletic	

   yard.	




   	
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   At	the	conclusion	of	the	tour,	the	Monitor	met	in	a	conference	room	with	ORR	

   personnel,	counsel,	management	of	Shiloh,	and	the	expert	psychiatrist	for	

   Plaintiffs	to	discuss	in	general	the	role	of	ORR	and	its	contractors	caring	for	

   UACs,	and	specifically	the	current	compliance	by	Shiloh	with	the	Court’s	

   Order	after	July	30,	2018.	The	conversation	focused	primarily	on	informed	

   consent	for	administration	of	psychotropic	medications,	ensuring	that	minors	

   were	held	in	the	least	restrictive	environment,	and	that	minors	should	be	

   expeditiously	released	or	“stepped	down”	to	a	less	restrictive	environment.		

   The	lawyers	and	Shiloh	staff	concluded	the	meeting	with	a	brief	question	and	

   answer	session.	


   Days	later,	at	a	subsequent	meet	and	confer	with	counsel,	at	the	suggestion	of	

   the	Monitor,	it	was	agreed	that	the	Program	Administrator,	Shiloh	

   Psychiatrist,	and	Plaintiffs’	expert	witness	should	meet	in	person	or	through	

   Skype	to	further	discuss	disputed	issues,	without	their	lawyers	present,	with	

   the	hope	that	the	medical	professionals	could	develop	a	medical	protocol	

   consistent	with	best	practices	and	the	Order.	It	was	decided	that	the	Monitor	

   would	attend	as	moderator.	


   The	Monitor	attended	the	meeting	of	the	doctors	at	Shiloh	on	January	14,	and	

   observed	their	thoughtful	and	far‐ranging	attempt	to	develop	a	common	

   protocol.			


   	
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   At	the	conclusion	of	the	meeting,	the	doctors	agreed	to	share	their	

   impressions	with	the	lawyers	for	ORR	and	the	Plaintiffs.		The	Monitor	has	

   been	informed	that	after	hearing	from	the	doctors,	the	lawyers	for	ORR	and	

   the	Plaintiffs	have	met	and	conferred	in	January	and	February.	Each	side	has	

   proposed	language	to	settle	the	dispute.		The	Monitor	will	report	on	the	

   results	in	the	next	Report.	



   6. DISCUSSION	OF	WHETHER	DEFENDANTS’	RESPONSES	TO	

         PLAINTIFFS’	DECLARATIONS	HAVE	REBUTTED	PLAINTIFFS’	

         EVIDENCE	

   Paragraph	D(1)(a)	of	the	Order	Appointing	the	Monitor	requires	her	to	

   include	in	the	First	Report	and	Recommendation	a	discussion	of	“Defendants’	

   responses	to	the	declarations	Plaintiffs	filed	on	July	19,	2018	[Doc.	##	475	to	

   475‐7]	and	Plaintiffs’	reply	hereto	[Doc.	##	481	and	481‐1],	and	opine	on	the	

   extent	(if	any)	to	which	Defendants	have	rebutted	Plaintiffs’	evidence.”10	


   																																																			
   10	Defendants’	filing	contains	separate	replies	from	ICE	Juvenile	Coordinator	

   Deane	Dougherty	[Doc.	#	475‐1]	and	USBP	Juvenile	Coordinator	Henry	A.	
   Moak,	Jr.	[Doc.	#	475‐2	to	475‐7].	The	ICE	reply	addresses	Plaintiffs’	
   Memorandum	Re	Status	Conference	and	Response	to	Third	Government	
   Monitors’	Reports	[Doc.	##	457	to	457‐1],	dated	July	13,	2018,	and	does	not	
   purport	to	address	Plaintiffs’	July	19,	2018	declarations,	to	which	this	
   paragraph	of	the	Order	refers.	Therefore,	the	Monitor	focuses	here	on	
   Mr.	Moak’s	response	to	the	allegations	against	CBP	in	Plaintiffs’	July	19,	2018	
   filing.		

   	
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   In	his	response	(Letter	from	Henry	A.	Moak,	Jr.	to	Hon.	Dolly	M.	Gee,	Aug.	6,	

   2018)	[Doc.	#475‐1]	(“Moak	Ltr.”),	Mr.	Moak	describes	how	he	had	CBP	

   activity	logs	and	amenity	reports	retrieved	for	all	of	the	declarations	

   pertaining	to	the	RGV	Sector,	of	which	he	was	able	to	obtain	documentation	

   regarding	18	of	the	declarants;	he	attaches	those	documents	to	his	response.	

   Mr.	Moak	then	presents	his	conclusions	from	this	review.	The	Monitor	has	

   reviewed	his	response	and	compared	the	18	declarations	to	the	records	

   proffered	by	Mr.	Moak.	Obviously	this	is	a	limited	subset	from	which	to	draw	

   any	broad	conclusions	about	rebuttal	of	Plaintiffs’	evidentiary	showings,	but	

   that	is	of	lesser	concern	than	the	limited	evidentiary	support	CBP	can	draw	

   from	the	18	files	that	were	examined.	


   Mr.	Moak’s	file	review	demonstrates	that	the	full	breadth	of	the	allegations	in	

   Plaintiffs’	declarations	are	not	fully	addressed	in	the	file.	Overall,	“the	

   custodial	records	indicate	many	of	the	minors	were	provided	some	or	all	of	

   these	amenities.”	(Moak	Ltr.,	at	2.)	The	review	is	restricted	to	“allegations	

   related	to	personal	hygiene	products,	access	to	showers,	food	availability,	or	

   other	amenities	offered”	(id.),	and	acknowledges	that	some	of	the	declarants’	

   allegations	“cannot	be	resolved	based	solely	on	the	attached	RGV	records,”	in	

   part	because	some	of	the	issues	(e.g.,	ambient	temperatures)	pertain	to	

   declarants’	subjective	experiences	(id.	at	3).	And	Mr.	Moak	acknowledges	



   	
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   “particularly	concerning”	allegations	of	agent	or	officer	misconduct,	which	

   have	been	referred	to	CBP’s	Office	of	Professional	Responsibility.	(Id.)		


   Mr.	Moak	compares	the	allegations	of	two	declarations	with	the	records	

   proffered	with	his	response,	which	“illustrate	how	many	of	the	18	

   declarations	I	reviewed	contain	allegations	that	are	inconsistent	with	the	

   actual	data	collected	by	CBP	during	the	minors'	time	in	custody.”	(Id.	at	2.)	

   The	Monitor	has	compared	the	declarations	with	the	CBP	data	provided.	The	

   comparison	reveals	that	the	limited	scope	of	the	data	maintained,	the	

   inherently	subjective	nature	of	some	of	the	complaints,	and	the	limited	

   conclusions	Mr.	Moak	was	able	to	reach	cannot	provide	sufficient	evidentiary	

   refutation	of	the	declarations.	


   To	illustrate,	Mr.	Moak’s	first	example	regards	Keylin	M,	whose	declaration	is	

   Plaintiffs’	Exhibit	6.	The	following	table	itemizes	the	allegations,	shows	

   Mr.	Moak’s	responses,	and	describes	how	the	Monitor	finds	that	the	two	

   relate.	


   	


   	


   	


   	

   	
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                 Allegation                          CBP Response  
                                                                                     Monitor’s Observations 
           (Plaintiffs’ Exhibit 6)                 (Moak Ltr., p. 2) 
   Room cold, shivering, miserable         No response with respect to       Numerous declarations 
   cold. (¶¶ 4, 10)                        Keylin in particular, but CBP     allege (and Monitor 
                                           maintains that, except as         observed) that rooms felt 
                                           noted, temperature was            cold, minors were 
                                           maintained between 60 and         unaccustomed to air 
                                           80 degrees F.                     conditioning, many were 
                                                                             lightly dressed.  

   Given food frozen (¶¶ 5, 13, 20)        “[C]ustodial records show 22      Monitor confirms that e3DM 
                                           meals were accepted, one          records show minor 
   Food smelled bad (¶¶ 13, 20)            meal was rejected, and seven      “accepted” 22 meals (plus 
                                           snacks were offered during the    snacks) and refused 1. 
                                           minor's time in custody.”         Whether minor found them 
                                                                             edible (i.e., actually ate) is 
                                                                             not clear. Several of 
                                                                             Plaintiffs’ declarants made 
                                                                             the same allegation 
                                                                             regarding undefrosted food.  

   Separated from Mother, limited          No response                        
   opportunity to talk (¶¶ 6‐7, 19) 

   Female guards abusive (¶¶ 8‐9)          Allegations are particularly       
                                           concerning. Referred to OPR. 

   Guards did not allow them to keep  No response                            Allegation appears to regard 
   blankets when leaving facility.                                           being permitted to keep 
   (¶¶ 11, 12)                                                               blankets when transferred 
                                                                             between facilities, rather 
                                                                             than being denied blankets. 




   	
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                Allegation                     CBP Response  
                                                                                  Monitor’s Observations 
          (Plaintiffs’ Exhibit 6)             (Moak Ltr., p. 2) 
   Had no toothpaste, toothbrush at    “KM received . . . a dental        Records show she received 
   “Dog House” (¶ 14)                  hygiene product, . . .”            these items at “RGV”, the 
                                                                          first facility to which she was 
                                                                          taken. Declaration says she 
                                                                          did not have toothpaste, 
                                                                          toothbrush “the entire time I 
                                                                          was at the Dog House,” 
                                                                          which appears to refer to 
                                                                          the second facility (“BRP” in 
                                                                          the records), where she was 
                                                                          taken on her fifth day in 
                                                                          custody. So it appears she 
                                                                          did not take what she was 
                                                                          given at “RGV” with her to 
                                                                          “BRP”, where she was not 
                                                                          given new dental hygiene 
                                                                          items. 

   Bathrooms “dirty and disgusting,    No response.                        
   toilets overflowing” (¶ 15) 

   Was not allowed to shower or        “Custodial records indicate        Minor was in custody for 8 
   change for 5 days (¶ 16)            that KM received … two             days at time of declaration. 
                                       showers during her time in 
                                       custody.” 

   Not given any food, water when      “[C]ustodial records show 22       This allegation appears to 
   moved after 4 days (¶ 18)           meals were accepted, one           refer to 5th day in custody, 
                                       meal was rejected, and seven       when she was transferred 
                                       snacks were offered during the     from “RGV” to “BRP”. E3DM 
                                       minor's time in custody.”          records indicate meals were 
                                                                          received. No records 
                                                                          regarding water. 

   	

   	

   	

   	




   	
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   The	material	Mr.	Moak	has	provided	is	by	no	means	irrelevant	to	the	issues	

   before	the	Court.	In	the	Monitor’s	view,	this	exercise	has	shown	that	while	the	

   e3DM	data	definitely	has	a	significant	role	to	play	in	examining	some	of	the	

   allegations	that	have	been	made,	rebuttal	of	the	full	range	of	issues	requires	

   evidence	outside	the	e3DM	materials,	at	least	as	it	is	presently	designed,	and	

   may	require,	for	example,	reconsideration	of	the	standards	and	criteria	CBP	

   has	adopted.	


   At	this	point	the	Parties	have	moved	beyond	the	allegations	of	the	2018	

   filings.	The	Monitor	has	seen	some	progress	on	a	number	of	the	issues	that	

   have	thus	far	eluded	resolution.	If,	after	the	current	efforts	run	their	course,	

   some	issues	remain	unresolved,	the	Parties	can	address	them	with	new	

   evidence	from	both	sides.	




   	
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